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 6                              UNITED STATES DISTRICT COURT
 7                            SOUTHERN DISTRICT OF CALIFORNIA
                                     SAN DIEGO DIVISION
 8
                                                         Case No.   '21CV1091 W     AHG
 9

10                                                       COMPLAINT FOR DAMAGES
     SYED F. DAUD,
11                                    1. VIOLATIONS OF THE FAIR DEBT
                        Plaintiff,
                                         COLLECTION PRACTICES ACT, 15
12                                       U.S.C. § 1692 ET SEQ.
           v.
                                      2. VIOLATIONS OF THE ROSENTHAL
13                                       FAIR        DEBT      COLLECTION
     MIDLAND CREDIT MANAGEMENT, INC.,
14                                       PRACTICES ACT, CAL. CIV. CODE
     Defendant.                          §1788 ET SEQ.
15
                                                         JURY TRIAL DEMANDED
16

17

18   counsel complaining of the Defendant, MIDLAND CREDIT MANAGEMENT, INC.,

19

20                                       NATURE OF THE ACTION
21
        1.   Plaintiff brings this action seeking redress fo
22
                                        ) pursuant to 15 U.S.C. §1692 and violations of the Rosenthal
23
                                                                                             et. seq.
24

25                                      JURISDICTION AND VENUE

26      2. This action arises under and is brought pursuant to the FDCPA and the RFDCPA.

27

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 1         3. Subject matter jurisdiction is conferred upon this Court by 28 U.S.C. §1331, as the action
 2   arises under the laws of the United States.
 3
           4.    The Court has supplemental ju                                   DCPA claim pursuant to 28
 4
     U.S.C. §1337.
 5
           5. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Midland Credit Management,
 6

 7   Inc. houses its corporate office in the Southern District of California.

 8                                                       PARTIES

 9         6.                                                   rson, over 18-years-of-age, who at all times
10
     relevant was domiciled in this judicial district.
11
           7.                                   fined by 15 U.S.C. § 1692a(3).
12
           8.
13
     of business at 350 Camino de la Reina, Suite 100, San Diego, California 92108.
14
15         9.                                  rvicing account that have fallen behind and have been charged
                           1
16

17         10.                                                d by 15 U.S.C. §1692a(6) because (1) it uses
18
     instrumentalities of interstate commerce and the mail in the course of collecting consumer debt; (2)
19
                                                                collection of debt owed or due or asserted to
20
     be owed or due another; and (3) it regularly collects consumer debt owed to others.
21

22                                             FACTUAL ALLEGATIONS

23         11. At some point, Plaintiff applied for and was approved for a Best Buy credit card through

24   Citibank.
25         12. Plaintiff used his Citibank credit card to purchase personal and household goods.
26
           13. Due to unforeseen circumstances, Plaintiff fell behind on his payments in or around 2017.
27

28   1
         https://www.midlandcredit.com/who-is-mcm/


                                                          2
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 1       14. Once unpaid, the account was referred to Defendant for collection.
 2       15. At the time the account was transferred to Defendant, the Citibank card has a balance of
 3

 4
         16. In or around April 2021, Plaintiff discovered that Defendant put a lien on his house.
 5
         17. After discussing the matter with the state court, Plaintiff was informed that Defendant had
 6

 7   filed two separate cases against him for the same debt and that two liens were now on his property

 8   in error.

 9       18. Plaintiff was never served in either lawsuit and was unaware that a judgment was entered
10
     against him.
11
         19. In mid-May 2021, Plaintiff contacted Defendant to discuss the matter.
12
         20. On May 25, 2021, Defendant accepted Plainti
13
     the debt.
14
15       21. Defendant stated that Plaintiff must pay immediately to effectuate the agreement.

16       22. Plaintiff agreed and paid the amount of $2,589.34 to satisfy the subject debt.
17       23. At that time, Defendant claimed to
18
         24. On June 8, 2021, Plaintiff checked his account with Defendant online.
19
         25. Plaintiff was shocked to discover that Defendant still shows that he owes a balance of $584
20
     on the subject debt.
21

22       26. Plaintiff suffered emotion distress believing that even though he was forced into making

23   payment that same dame in the amount of $2,589.34 that he now is required to make additional

24   payments.
25       27.                                                  on efforts, Plaintiff was forced to retain
26
     counsel to vindicate his rights.
27

28


                                                      3
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 1                                                         IR DEBT COLLECTION PRACTICES
                                                    ACT
 2

 3       28. All paragraphs of this Complaint are expressly adopted and incorporated herein as though

 4   fully set forth herein.

 5       29.                                           15 U.S.C. § 1692a(5) because it was incurred for
 6   personal, family, and household purposes.
 7
               a. Violations of FDCPA §§ 1692e and 1692f
 8
         30. Pursuant to §1692f of the FDCPA, a debt coll
 9
     unconscionable means to collect or
10

11       31. Defendant violated §1692f by employing unfair and unconscionable means to attempt to

12   collect funds in excess of the settlement amount to which Plaintiff had agreed.

13       32. Specifically, Defendant changed                                ect debt from $0 to $584 on
14
     June 8, 2021.
15
         33. Pursuant to §1692e of the FDCPA, a debt coll
16
                                                 connection with the collection of a debt.
17
         34. Defendant violated §1692e by falsely representing to Plaintiff that the subject debt was
18

19   settled and his account was zeroed out and the egregiously changing his balance to $584 less than

20   two weeks later.
21       35. As pled above, Plaintiff was harmed                         collection practices.
22
         WHEREFORE Plaintiff, SYED F. DAUD, requests that this Honorable Court:
23
         a. Declare that the practices complained of herein are unlawful and violate the aforementioned
24
               statute;
25       b. Award Plaintiff statutory and actual damages, in an amount to be determined at trial, for the
26             underlying FDCPA violations;
27       c. Award Plaintiff costs and reas                           provided under 15 U.S.C. §1692k;

28             and


                                                      4
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 1      d. Award any other relief as this Honorable Court deems just and appropriate.
 2

 3     COUNT II -Rosenthal Fair Debt Collection Practices Act (Cal. Civ. Code §1788 et seq.)
        36. Plaintiff restate and realleges all previous paragraphs as though fully set forth herein.
 4

 5      37. California Civil Code § 1788.17 provides:

 6                  Notwithstanding any other provision of this title, every debt collector
                    collecting or attempting to collect a consumer debt shall comply with the
 7                  provisions of Section 1692b to 1692j, inclusive, of, and shall be subject to
                    the remedies in Section 1692k of, Title 15 of the United States Code.
 8

 9      38. As pled above, Defendant violated 15 U.S.C. §§1692e and 1692ef; therefore violating

10   Cal. Civ. Code §1788.17.

11      WHEREFORE, Plaintiff, SYED F. DAUD, respectfully requests that this Honorable Court
12
     enter judgment in his favor as follows:
13
        a. Declaring that the practices complained of herein are unlawful and violate the Rosenthal
14
            Fair Debt Collection Practices Act;
15      b. Awarding Plaintiff statutory and actual damages, in an amount to be determined at trial,
16          for the underlying Rosenthal Fair Debt Collection Practices Act violations;
17      c. Awarding Plaintiff costs and reas
        d. Awarding any other relief as this Honorable Court deems just and appropriate.
18

19
        Plaintiff demands trial by jury.
20

21   Dated: June 11, 2021                          Respectfully submitted,

22                                                 By: /s/ Nicholas M. Wajda
                                                   Nicholas M. Wajda
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